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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     FRANKFORT


UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )         Civil No. 3:17-cv-00033-GFVT
                                                  )
v.                                                )                 JUDGMENT
                                                  )                    &
DAVID JOHNSON, et al.,                            )               ORDER OF SALE
                                                  )
       Defendants.                                )


                                  ***** ***** ***** *****

       This matter having come before the Court upon the Plaintiff’s Motion for In Rem

Judgment and Order of Sale against the Defendants David Johnson a/k/a David Anthony Johnson

and the Unknown Spouse of David Johnson a/k/a David Anthony Johnson, and Judgment and

Order of Sale against Defendant CitiFinancial, Inc., in and to the real property which is the

subject of this action, and the Court having considered the Motion and the record herein, and

being otherwise sufficiently advised, it is hereby ORDERED AND ADJUDGED as follows:

       1.      That the Plaintiff’s motion [R. 16] is GRANTED;

       2.      That the Plaintiff, the United States of America, is hereby granted Judgment as

follows:

               a.      In rem Judgment and Order of Sale is hereby entered against the

               interests of Defendant David Johnson a/k/a David Anthony Johnson, in and to the

               real property which is the subject of this action, in the principal sum of

               $96,058.78, with accrued interest of $6,579.34 through January 31, 2017, together
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           with total subsidy granted of $3,665.60, escrow of $1,220.17, late charges of

           $86.60, and fees assessed of $5,500.08, for a total unpaid balance due of

           $113,110.57 as of January 31, 2017. Interest is accruing on the unpaid principal

           balance at a rate of $13.9028 per day after January 31, 2017, until the date of

           entry of judgment, as appears from the Affidavit of Rural Development

           Foreclosure Representative, Vicki Jones, previously filed herein, together with

           interest on the Judgment amount at a rate of 2.44 percent per annum, until paid in

           full, plus costs, disbursements, attorney’s fees, and expenses;

           b.     In rem Judgment and Order of Sale is hereby entered against the

           interests of Defendant Unknown Spouse of David Johnson a/k/a David Anthony

           Johnson, if any. The Defendant Unknown Spouse of David Johnson a/k/a David

           Anthony Johnson, if any, is hereby found to have an interest in the subject real

           property by virtue of being the spouse of David Johnson A/K/A David Anthony

           Johnson. Said interest shall be second in priority to the first mortgage lien on the

           property in favor of the Plaintiff, the United States; and

           c.     Judgment and Order of Sale is hereby entered against CitiFinancial, Inc.

           The Defendant CitiFinancial Inc., is hereby found to have an interest in the

           subject real property by virtue of that certain Mortgage recorded November 30,

           2001, in Mortgage Book 204, Page 291, in the Anderson County Clerk’s Office.

           Said interest shall be second in priority to the first mortgage lien on the property

           in favor of the Plaintiff, the United States; and




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        3.     That federal liens attaches to the real property which is the subject of this action,

the same being located in Anderson County, Kentucky, and more particularly described as

follows (hereinafter, the “Property”):

        Being all of Lot 21, of the Woodland Park No. 2 Subdivision, Lawrenceburg,
        Anderson County, Kentucky, as shown by plat thereof of record in Plat
        Cabinet A, Slide 9, in the Anderson County Court Clerk’s Office, said
        property being also known as 100 Woodland Park Circle; and

        BEING the same property conveyed to David Johnson, a single person, by
        Special Warranty Deed dated October 19, 2009, of record in Book 244, Page
        215, recorder’s office for Anderson County, Kentucky.

        4.     That a federal lien attaching to the Property shall be foreclosed and the property

sold at auction, pursuant to Title 28, United States Code, Sections 2001 and 2002, in the manner

hereinafter set forth; and that the Property shall be sold free and clear of all liens, claims, and

rights of redemption of all the parties to this action, except for restrictions and easements of

record, zoning laws affecting the Property, municipal utility and/or maintenance liens, and any

city, county, state, or school ad valorem taxes which may be due and payable or assessed against

the Property at the time of the sale. Payment of such property taxes and municipal utility or

maintenance charges shall be the responsibility of the purchaser of the Property at the foreclosure

sale;

        5.     That in accordance with the foregoing paragraph, the following liens, to the extent

that they affect the Property, shall be deemed to be released upon entry herein of the Court’s

order confirming the foreclosure sale of the Property as more fully set forth below:

               a.      Mortgage in favor of the United States Department of Agriculture,

               Rural Housing Service, recorded October 26, 2009, in Mortgage Book

               436, Page 179, in the Anderson County Clerk’s Office; and



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               b.      Mortgage in favor of CitiFinancial, Inc. recorded on November 30,

               2001 in Mortgage Book 204, Page 291, Anderson County Clerk’s Office.

       Such liens, with the exception of mortgage liens, shall remain in full force and

       effect against any other real property which the Defendant owns or may acquire in

       the future.

       6.      That the United States Department of Agriculture, Rural Development (a/k/a

Rural Housing Service) is hereby authorized and directed to offer the Property for sale at public

auction. The sale shall be conducted within Anderson County, Kentucky. Rural Development

shall advertise the sale by causing a notice of sale, containing the time and place of the sale, a

description of the Property, and the terms of the sale, to be published no less than once a week

for four consecutive weeks prior to the sale in a daily newspaper of general circulation in

Anderson County. Rural Development shall pay the expenses of such advertising, and shall be

reimbursed upon distribution of sale proceeds. Prior to the sale, Rural Development shall have

the Property appraised by a certified/licensed appraiser who shall be duly sworn by law before

entering upon such duties. Rural Development shall pay the customary fee for the appraisal, and

shall be reimbursed upon distribution of the sale proceeds. Neither the appraiser nor anyone

acting on his or her behalf may make a bid to purchase the Property. Should the purchase price

for the Property be less than two-thirds of its appraised value, the United States Marshal’s deed

conveying the Property to the purchaser shall contain a lien in favor of the Defendants herein

who are the record, chain-of-title owners of the Property reflecting their right to redeem the

Property during the period for such redemption provided by law. Upon the sale of the Property,

the successful bidder may pay to the United States Marshal for the Eastern District of Kentucky

the purchase price or upon a credit of sixty (60) days. At the sale, no bid (except as to Rural


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Development and the other secured parties to this action who may credit bid against their

judgements herein) shall be accepted unless the same is accompanied by an immediate cash

deposit of at least 10% of the amount of the purchase price. The successful bidder(s) shall

execute a sales bond with a good and sufficient surety, or shall provide a bank letter of credit, for

the balance of the purchase price. The requirement of a sales bond or bank letter of credit may be

reasonably waived by the attorney for the United States. The successful bidder(s) must tender the

balance of the purchase price to the Lexington office of the United States Marshal within sixty

(60) days following the date of the sale. Upon a default by the purchaser(s), the purchaser’s

initial deposit shall be forfeited and retained by the United States Marshal to be subsequently

disbursed as part of the proceeds of the sale; whereupon the Property shall again be offered for

sale in compliance with this Judgment;

       7.      That the sale of the Property shall be subject to confirmation by this Court. As

soon as practicable following the sale, Rural Development shall cause to be filed of record herein

a Report of Sale. The Report of Sale shall set forth the times and place of the sale, the appraised

value of the Property, the purchase price, the identity and addresses of the purchasers, a

statement of how the purchasers wish to take title to the Property, and the advertising, appraisal,

and other expenses of the sale incurred by Rural Development. The Report of Sale shall lay over

for objections and exceptions for ten (10) days after the filing of the Report. After the Report

has laid over for ten (10) days, the United States shall file a motion herein for confirmation of the

sale and for entry of an order directing the United States Marshal to execute a deed of

conveyance of the Property to the purchaser. The attorney for the United States shall prepare the

Marshal’s deed. The United States Marshal is not required to generally warrant title to the

Property, and in no event shall the Marshal be personally obligated in any manner whatsoever.


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The Marshal shall tender the deed to the Court for approval and endorsement. The Marshal shall

not deliver or cause delivery of the Deed to the purchaser of the Property until such time as the

sale has been confirmed by the Court, the deed has been examined and approved by the Court,

and the purchase price has been paid in full to the Marshal. Following the confirmation of the

sale, payment in full of the purchase price, and delivery of the deed, the United States shall file

of record herein a motion for distribution of the proceeds, and have this action stricken from the

Court’s active docket;

       8.      That the proceeds of the sale of the Property shall be subjected first to the

payment of the costs of this action and the sale, then toward satisfaction of the Plaintiff’s

Judgment against the Defendants, and thereafter as this Court shall direct;

       9.      That in order to conduct the foreclosure sale of the Property, the United States

shall have possession of the Property. Any persons now possessing or occupying the Property

shall make the same available for inspection upon reasonable notice by the United States, and all

such persons now possessing or occupying the Property shall completely move out of the

Property no later than thirty (30) days from the date of entry of this Judgment. Should any such

person fail to move out of the Property in compliance with this Judgment, the United States shall,

upon motion, be entitled to the entry of a Writ of Assistance providing for the eviction of such

persons from the Property. Upon request of Rural Development or the attorney for the United

States, the United States Marshal for the Eastern District of Kentucky is hereby authorized and

directed to perform any and all acts which may be reasonably required to protect the Property

and to maintain the peace at the sale of the Property or at the eviction of persons who fail to

comply with this Judgment; and




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       10.     That this action is now continued for confirmation of the sale of the Property,

distribution of the sales proceeds, and for such further orders and judgments as may be

necessary.

       This the 4th day of September, 2018.




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